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EXHIBIT U
DECL. OF ROBERT GARNER —
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‘ COUNTY OF SANTA CLARA

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8 UNITED STATES DISTRICT COURT

9 FOR THE EASTERN DISTRICT OF CALIFORNIA
10 AND THE NORTHERN DISTRICT OF CALIFORNIA
11 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
12 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
13

14] RALPH COLEMAN, et al., No. CIV 8-90-0520 LKK JFM P

15 Plaintiffs, THREE-JUDGE COURT
16) sv. TRIAL DECLARATION OF ROBERT
GARNER
17 ARNOLD SCHWARZENEGGER, et al.,
Date: November 18, 2008
18 Defendants. Time: 1:30 p.m.
Location: U.S.D.C. Ceremonial Courtroom
19

20] MARCIANO PLATA, etal., No. C01-1351 TEH

21 Plaintiffs, - THREE-JUDGE COURT

22 Vv.

23 ARNOLD SCHWARZENEGGER, et al.,

24 Defendants.

25

26 I, Robert Garner, declare as follows:

27 1. Tam currently employed as the Director of the Santa Clara County Department of

28 Alcohol and Drug Services (the “Department”), I was named the Drug Program Coordinator of

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ANN MILLZR RAVEL,
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ounty of Santa Clara
Sau Jose, Califamia

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Santa Clara County (the “County”) in 1971. When the County Drug Program merged with the
County Alcohol Program in 1981, I was appointed lead and have been the Department Director
since that time. I also hold the position of Santa Clara County Alcohol and Drug Program
Administrator.

2. As the Director of the Department, ] am responsible for the overall administration of
the Department, including responsibility for the overall budget and program administration. In
this capacity, every fiscal year (July 1 through June 30) I prepare a recommended budget for the
Department within the fiscal parameters set by the County and submit it to the County
Executive’s Office. The Department Recommended Budget then becomes a part of the larger
County of Santa Clara Recommended Budget ( “Recommended Budget” released by the County
Executive in May 2008, attached as Exhibit A to County’s Trial Exhibits, pp. 508-530.)

3. | _Inconnection with preparing the budget and overseeing the programs and services
provided by the Department, my duties include considering and forming opinions regarding the
impact of additional persons, including prisoners or parolees, needing alcohol and drug services
from the County. On August 15, 2008, I prepared and submitted the Expert Report of Robert
Garner (“Garner Report”), which has been filed simultaneously with this Declaration.

4, The FY09 Department Recommended Budget contains more than $50 million of
combined federal, state and County general fund dollars. (Recommended Budget, p. 518.)
Approximately $24 million of the Recommended Budget comes from the County’s general fund
dollars. (Recommended Budget, pp. 518-19.) Iam anticipating millions of dollars in further
budget cuts from the Recommended Budget due to budget cuts contained within the FY09
budget for the State of California.

5. In fiscal year 2008, the Department served approximately 8,130 adult clients.
(Exhibit L to County’s Trial Exhibits, p. 1.) In fiscal year 2006, the Department served
approximately 8,566 adult clients. (Exhibit F to County’s Trial Exhibits, p. 2.) The
Department provides a broad array of treatment services to adult clients through a combination
of County and community based treatment providers. These services include outpatient

counseling, transitional short-term (1-3 months) housing for clients who are in the outpatient

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program but do not have adequate housing, residential programs, detoxification services,
perinatal program, and methadone treatment (drug replacement for heroin and other opium
addicts). The estimated cost to provide these services is $4,369.00 per client, per year. (Exhibit
F to County’s Trial Exhibits.)

6. The County is required by law to provide services to individuals eligible for
treatment through the Substance Abuse and Crime Prevention Act of 2000 (“SACPA”), which
is a voter approved initiative providing state funding for drug:treatment in lieu of incarceration
for certain non-violent adult drug offenders. The state does not fully fund the services that the
County is required to provide under SACPA. As a result, the County must supplement one-half
to two-thirds of the state SACPA allocation with state and federal discretionary funds, and
County general funds. The more demands that are put on the County for services to SACPA
and criminal justice clients, the less resources are available to provide services to addicted
mothers, children, and other persons needing drug and alcohol services in the community,

7. Even with a $50 million Department budget, the County does not have the resources
to serve everybody who needs drug and alcohol treatment. The Department maintains a waiting
list for services, which ranges from an average of 33 days for outpatient services, 28 days for
methadone treatment, 9 days for residential drug abuse treatment, 12 days for detoxification,
and 7-14 days for residential treatment. This waiting list does not include everybody who wants
or needs drug and alcohol services. Many people do not put their name on the waiting list when
they find out they cannot get immediate access to treatment. In other words, they do not wait
around to be selected off the waiting list, and instead continue to abuse substances in the
community.

8. Alcoholics and drug addicts. who do not receive treatment may continue their cycle
of abuse and escalate their level of use. Because the drug and alcohol system is at capacity and
has lengthy waiting periods, the County will not be able to provide immediate treatment to
individuals who may be released by the Court in connection with a prisoner release order issued
in this case. There will be a significant negative impact to public safety, including increased

crimes and arrests, resulting from untreated alcohol and drug abusers in the community.

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LE 9. ‘The foregoing is based upon my personal knowledge and my expert opinion. I

2 | called to testify as a witness I could and would testify competently thereto. [ declare under
| penalty of perjury under the laws of the State of California that the foregoing is true and corrcet.

: Executed this 2 S day of October, 2008, at San Jose. California.

obert Garner

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